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    DISTRICT COURT, DENVER COUNTY, STATE OF
    COLORADO                                DATE FILED: January 30, 2018 8:22 PM
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    1437 Bannock Street, Room 256           CASE NUMBER: 2018CV30363
    Denver, Colorado 80202
     720-865-8301


    CANYON CLUB CONDOMINIUM OWNERS ASSOCIATION

    Plaintiff,

    v.
                                                                Case No.:
    AMERICAN FAMILY MUTUAL INSURANCE COMPANY, a
    corporation.

    Defendant.
    Attorney for Canyon Club Condominium Owners
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         COMPLAINT AND JURY DEMAND FOR BREACH OF CONTRACT, STATUTORY
                     RELIEF UNDER C.R.S. §§ 10-3-1115 AND 1116,
                            COMMON LAW BAD FAITH


           Plaintiff, Canyon Club Condominium Owners Association (“Canyon Club”), by its

   undersigned attorneys, for its Complaint against American Family Mutual Insurance Co.

   (“American Family”), alleges, avers and states as follows:
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                                     NATURE OF THE ACTION
          1.      Canyon Club brings this action for relief due to American Family’s breaches of

   contract for failure to duly investigate and adjust, and then timely pay insurance benefits for

   damages to property covered by American Family’s insurance policy which exceed the total

   amount of $15,000, exclusive of pre-judgment interest, court costs and attorneys’ fees.

   Additionally, Canyon Club sues to enforce its rights under C.R.S. 10-3-1115 and 1116, and related

   laws in response to American Family’s acts and failure to act.


                             PARTIES, JURISDICTION, AND VENUE

          2.      During all relevant times, Canyon Club was operated and maintained commercial

   residential real property located at 6495 Happy Canyon Road, Denver, CO, 80237 (“the Property”)

   and has standing to bring this action.

          3.      Upon information and belief, Defendant American Family is an insurance company

   licensed with the State of Colorado, the Division of Insurance, engaged in the business of issuing

   property and casualty insurance policies insuring commercial and other properties in the State of

   Colorado.

          4.      This Court has subject matter jurisdiction over this cause of action.

          5.      A cause of action exists under Colorado state law for claims regarding the conduct

   complained of herein

          6.      Personal jurisdiction is proper as to American Family pursuant to C.R.S. § 13-1-

   124(1)(a), (b), and (d) because American Family conducted the business at issue in this action,

   committed tortious misconduct and contracted to insure property within the State of Colorado.

          7.      Venue is proper pursuant to Colo.R.Civ.P. 98 because it is the venue in which the

   cause of action accrued and where the insured property in question is located.
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                                 FACTS COMMON TO ALL COUNTS

          8.      American Family issued Canyon Club a commercial all risk businessowners

   insurance policy, Policy Number 05XU1057-02 (“the Policy”). A certified copy of the Policy is

   attached hereto as Ex. “A.”

          9.      The Policy was a renewal of a prior policy issued by American Family and was in

   full force and effect from April 1, 2016 to April 1, 2017.

          10.     Pursuant to its Policy, American Family agreed to pay for direct physical loss of or

   damage to the insured premises as a result of hail.

          11.     Pursuant to its Policy, American Family agreed to adjust all losses with the insured

   at the Insured’s location.

          12.     Canyon Club paid the premiums due on the Policy in a timely manner and

   performed all duties and responsibilities required of it under the Policy.

          13.     On or about July 15, 2016, while the Policy was in full force and effect, the insured

   premises sustained significant hail damage from a localized hailstorm, producing strong winds up

   to 60 MPH and hailstones up to 1.75” in diameter.

          14.     When it became aware of extensive damage to the Property after an inspection,

   Canyon Club timely made claims to American Family for benefits under the Policy, namely the

   cost to restore and replace the damage.

          15.     In October of 2016, American Family acknowledged notice of the claim, assigning

   claim no. 00-225-173505 et al. and indicated it was undertaking its claim investigation without

   reservation. Around this time, American Family assigned adjuster Tiffany Waters to the claim.

          16.     On October 16, 2016, Canyon Club requested that American Family provide its

   coverage decision and explanation as soon as possible. Canyon Club also requested a variety of
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   documents related to the claim including a certified copy of the policy, underwriting reports and

   all documents, photographs and documentation regarding the Property.

          17.     American Family has not produced any documents evidencing underwriting or loss

   control inspections at the Property before the July 2016 hailstorm.

          18.     On November 4, 2016, Canyon Club provided American Family with several

   documents, including a meteorology report from Forensic Weather Consultants along with

   NEXRAD Level III radar images of the storm on the date of the loss, photographs of the Property

   the morning following the storm, and information regarding the type of roofing system at the

   Property and installation date of same.

          19.     Several days later, on November 7, 2016, American Family performed its initial

   inspection of the Property with representatives from Canyon Club.

          20.     On November 10, 2016, American Family provided Canyon Club with its initial

   coverage decision, denying damages to the brick and acknowledging liability for damages to the

   shingle roofs, some windows and some painting. On November 22, 2016, Canyon Club received

   payment from American Family for the undisputed Actual Cash Value amount of loss it had

   determined and was therefore obligated to pay.

          21.     In a letter dated December 6, 2016, Canyon Club outlined, with extensive

   supporting photographic and additional documentary evidence, the numerous discrepancies and

   omissions in American Family’s investigation and ultimately in American Family’s estimate,

   causing a material undervaluation of the loss and damage for which it was responsible. The letter

   also requested any additional documentation and evidence used by American Family in support of

   their coverage decision.
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          22.     On December 8, 2016, American Family notified Canyon Club that the claim had

   been reassigned to adjuster Ken Null.

          23.     In a letter dated December 19, 2016, American Family misrepresented the

   coverages afforded to Canyon Club, asserting among other misstatements that “replacement cost

   refers to dollar amount of the work completed, not to the scope of the work” and that an example

   of the term indemnify was that “the insured had windows and after this method of repair, will again

   have windows of like, kind and quality.” American Family also asserted, without a physical

   inspection, that a “review of the photos shows that the paint of the siding has been affected by the

   impact of the hail. Such impacts did not disrupt the grains of the siding…A new coat of paint will

   return the siding to its original rough-sawed texture and pre-loss condition.”

          24.     Following additional communications with Canyon Club’s representatives

   identifying errors and poor investigation by American Family, on February 6, 2017, Canyon Club

   was notified that the claim had been again reassigned and would now be handled by adjuster Mark

   Winfield. Canyon Club contacted Mr. Winfield and updated him on the status of the claim by

   providing him with the chronological claim correspondence and requesting that this newly

   assigned adjuster take the time to familiarize himself with the material information already

   provided by Canyon Club based on its investigation to date.

          25.     On February 14, 2017, Canyon Club’s representative contacted Mr. Winfield.

   During this conversation, Mr. Winfield acknowledged that American Family’s estimate had clearly

   omitted certain items and advised that he would revise the estimate and American Family would

   make additional payment of the amounts thus acknowledged to be due under the Policy.

          26.     On March 22, 2017, Canyon Club’s representative contacted Mr. Winfield to

   follow up on the status of American Family’s revised estimate and payment of the additional
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   amounts due Canyon Club. During this conversation, Mr. Winfield asserted that while the

   application of depreciation to both the replacement cost amount and the General Contractors

   Overhead & Profit (GCO&P) was improper, that it was American Family’s “standard.” During

   this phone call, Mr. Winfield notified Canyon Club that American Family would be requesting a

   Sworn Statement in Proof of Loss and that Canyon Club would have 60 days to provide the Proof

   of Loss to American Family. Due to the size of the Property, Canyon Club requested 120 days

   instead of 60 to complete the Proof of Loss. Mr. Winfield stated that 120 days would not be a

   problem.

          27.     On April 4, 2017, American Family demanded that Canyon Club provide a Sworn

   Statement of Loss to American Family “within 60 days,” along with additional document requests,

   and failed to acknowledge and honor the 120-day period for further investigation to submit a Proof

   of Loss previously discussed and agreed by Mr. Winfield and Canyon Club.

          28.     On May 28, 2017, after no communication from American Family for nearly two

   months, Canyon Club submitted its Initial/Partial Sworn Statement in Proof of Loss, along with

   voluminous supporting reports, data and materials.

          29.     On June 9, 2017, Canyon Club received notification from yet-another American

   Family adjuster Kimberly Swoboda, that the Proof of Loss was being rejected due to “content.”

   The correspondence further stated that the Proof of Loss did not contain estimates in support of

   claim amounts nor any of the additional documents requested.

          30.     On July 7, 2017, Canyon Club again provided American Family with Canyon

   Club’s entire Sworn Statement in Proof of Loss presentation along with 9,417 pages of supporting

   documentation, as originally submitted. Canyon Club requested clarification of whether Ms.

   Swoboda had become the adjuster assigned to the claim in order to assure that she had the extensive
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   historical information concerning investigation of the loss already supplied in the course of

   adjustment. American Family failed to clarify her status.

          31.     On July 10, 2017, Sharon Larsen, now the fifth adjuster employed by American

   Family to be involved, notified Canyon Club that she would now be handling the claim.

          32.     In a letter dated August 30, 2017, Ms. Larsen informed Canyon Club that the Proof

   of Loss presentation was again being rejected for “lack of content,” continuing American Family’s

   refusal to acknowledge and evaluate the 9,417-page Proof of Loss submission, including 6,500

   pages of detailed estimates prepared using the industry-standard Xactimate estimating software

   routinely used by American Family itself. The letter advised that the Property would be reinspected

   by another engineering firm.

          33.     On September 21, 2017, during a telephone conversation with Ms. Larsen, Ms.

   Larsen acknowledged that in fact she had not reviewed the Proof of Loss presentation to ensure

   that all the supporting documents requested were there, but admitted that the extensive

   documentation supporting the Proof of Loss had actually been received and had been in American

   Family’s possession.

          34.     On November 27, 2017, Canyon Club notified American Family that temporary

   emergency repairs would be made to the Property to ensure no additional loss during the winter

   months. Canyon Club requested that American Family coordinate an inspection prior to the

   temporary repairs. In an email response to this request, Ms. Larsen stated that American Family

   would not be responsible for the costs associated with any “winterizing” of the Property’s roofing

   system, ignoring the information that “temporary repairs” were being made, compensable under

   the Policy consistent with the Insured’s duties to reasonably mitigate and prevent further losses.
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           35.    On December 15, 2017, Ms. Larsen asserted in a letter that “in 2012, the roofs were

   changed from wood shingles to the current comp shingles. As a result of that change, venting

   issues, which were present at that time, have resulted in damages currently being claimed. These

   issues may not be covered under the policy.” This representation of the circumstances leading to

   potential denial of coverage under the Policy was materially false and incorrect.

           36.    Canyon Club has performed all conditions precedent and subsequent required under

   the insurance Policy, or alternatively has been excused from performance by the acts,

   representations and/or conduct of American Family.

           37.    American Family failed to make timely decisions and pay the full benefits due

   under the Policy within 60 days after Canyon Club’s complete claim was submitted, as required

   by DORA Regulation 5-1-14. American Family failed to timely adjust and fully pay its insured

   the amounts owed under the policy it wrote and issued, ignoring the acknowledgement by its own

   representatives that American Family owed additional payments based on its own investigation to

   date. American Family failed to correct its erroneous positions, failed to acknowledge its

   responsibility to pay undisputed amounts, and failed to provide documents and information

   requested within a reasonable period or confirm their non-existence.

                                    FIRST CLAIM FOR RELIEF
                                     BREACH OF CONTRACT

           38.    Plaintiff re-alleges paragraphs 1-37 as though fully set forth herein.

           39.    Pursuant to the Policy, American Family has a contractual obligation to investigate,

   adjust and pay the full amount of Plaintiff’s damages from the insured event, including the costs

   to repair and/or replace the damage.

           40.    American Family breached the Policy by failing to properly and timely adjust the

   loss.
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           41.     American Family breached the Policy by failing to pay all benefits due and owing

   under the Policy for the claim.

           42.     As an anticipated and direct result of American Family’s actions, Canyon Club has

   not received Policy benefits owed to indemnify it for the entire loss. Canyon Club has:

           (a) incurred and will incur in the future costs to repair, restore and/or replace the significant

           property damage;

           (b) suffered and will continue to suffer incidental and consequential damages; within the

           contemplation of the parties in the event of breach; and

           (c) suffered and will continue to suffer loss and damage by incurring other expenses,

           including loss of pre-judgment interest, attorneys’ fees, investigatory fees, and other harm.

           WHEREFORE, Plaintiff Canyon Club Condominium Owners Association, respectfully

   requests that this Court enter Judgment against Defendant American Family Mutual Insurance

   Company for damages, costs, pre-judgment interest, attorneys’ fees pursuant to applicable law,

   and such other relief as the Court deems appropriate under the circumstances.

                                     SECOND CLAIM FOR RELIEF
                                      COMMON LAW BAD FAITH

           43.     Plaintiff re-alleges paragraphs 1-42 as though fully set forth herein.

           44.     Under the insurance policy, American Family owes its insured the duty of good

   faith and fair dealing.

           45.     An insurer breaches its duty of good faith and fair dealing when it knowingly or

   recklessly engages in unfair claim settlement practices.

           46.     Among other conduct, American Family has committed unfair claim settlement

   practices including, without limitation:
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          (a) Failing to acknowledge and act reasonably promptly upon communications with respect

          to claims arising under the insurance policy it wrote and issued;

          (b) Failing to adopt and implement reasonable standards for the prompt investigation of

          this claim and other claims arising under insurance policies;

          (c) Refusing to pay the claim without conducting a reasonable investigation based upon all

          available information, including the information demanded from and provided by its

          Insured;

          (d) Not attempting in good faith to effectuate prompt, fair, and equitable settlement of this

          and other claims in which liability has become reasonably clear;

          (e) Compelling insureds to institute litigation to recover amounts due under an insurance

          policy by offering substantially less than the amounts ultimately due and recovered in

          actions brought by such insureds;

          (f) Misrepresenting the terms and conditions of the Policy in an attempt to influence the

          insured to settle for less than all benefits reasonably afforded under the Policy for the

          subject loss and damage;

          (g) Encouraging its claim representatives to engage in unfair claims settlement practices

          against its insured, thereby violating applicable laws and regulations of the State of

          Colorado.

          47.     American Family has committed such actions willfully and with such frequency as

   to indicate a general business practice.

          48.     As a direct and proximate result of American Family’s actions, Canyon Club has:

          (a) Incurred and will incur in the future increased costs to repair, restore and/or replace the

          significant property damage;
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           (b) Suffered and will continue to suffer damages as a proximate result of the misconduct

           alleged; and

           (c) Suffered and will continue to suffer other expenses, including loss of pre-judgment

           interest, attorneys’ fees, investigatory fees, and other losses.

           WHEREFORE, Plaintiff Canyon Club Condominium Owners Association, respectfully

   requests that this Court enter Judgment against Defendant American Family Mutual Insurance

   Company for damages, costs, pre-judgment interest, attorneys’ fees pursuant to applicable law,

   and such other relief as the Court deems appropriate under the circumstances.

                                THIRD CLAIM FOR RELIEF
                          UNREASONABLE DELAY IN VIOLATION OF
                                 C.R.S §§ 10-3-1115 and 1116

           49.     Plaintiff re-alleges paragraphs 1-48 as though fully set forth herein.

           50.     Under Colo. Rev. Stat. § 10-3-1115, an insurer who delays or denies payment to an

   insured without a reasonable basis for its delay or denial is in breach of the duty of good faith and

   fair dealing.

           51.     Measured against objective industry standards for claim handling and payment,

   American Family’s actions have unreasonably delayed and/or denied payment of the loss and

   damage.

           52.     Colo. Rev. Stat. § 10-3-1116 authorizes a first-party claimant, such as Canyon Club,

   whose claim for payment of benefits has been unreasonably delayed or denied, to bring an action

   in a district court to recover reasonable attorneys’ fees and court costs and two times the covered

   benefit.

           WHEREFORE, Plaintiff Canyon Club Condominium Owners Association respectfully

   requests that this Court enter Judgment against Defendant American Family Insurance Company
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   for damages, including two times the covered benefit pursuant to applicable law, costs, pre and

   post-judgment interest, attorneys’ fees, expert witness fees, and such other and further relief as the

   Court deems just and proper under the circumstances.

                           Plaintiff Demands a Jury Trial of All Issues So Triable

   Dated this 30th day of January, 2018.


                                                         Respectfully submitted,

                                                         By: /s/Christopher N. Mammel
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